
37 N.Y.2d 877 (1975)
In the Matter of Harlem River Consumers Cooperative, Inc., Appellant,
v.
State Tax Commission, Respondent.
Court of Appeals of the State of New York.
Argued September 10, 1975.
Decided October 23, 1975.
Cora T. Walker for appellant.
Louis J. Lefkowitz, Attorney-General (Francis V. Dow and Ruth Kessler Toch of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, and FUCHSBERG. Taking no part: Judge COOKE.
Order affirmed, without costs, on the memorandum at the Appellate Division.
